      6:16-cv-00069-RAW Document 152 Filed in ED/OK on 08/27/19 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF OKLAHOMA

KARL FONTENOT,                               )
                                             )
               Petitioner,                   )
                                             )
vs.                                          )       Case No. 16-CV-69-JHP
                                             )
JOE ALLBAUGH,                                )
                                             )
               Respondent.                   )


                                         JUDGMENT

        This matter came before the Court upon Petitioner's 28 U.S.C. § 2254 Second Amended

Petition for Writ of Habeas Corpus. In an Opinion and Order filed August 21, 2019, the Court

granted the petition.

       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that judgment is entered

in favor of Petitioner and against Respondent.



        DATED this 27th day of August, 2019.
